Case 2:15-cv-01673-JCM-GWF Document 14-2 Filed 01/25/16 Page 1 of 2

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Case 2:15-cv-01673-JCM-GWF Document 14-2 Filed 01/25/16 Page 2 of 2

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Back to Top

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